            Case 2:20-cv-00163-SMJ                   ECF No. 11          filed 10/20/20    PageID.160 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_                                              FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                     Eastern District of Washington                           EASTERN DISTRICT OF WASHINGTON


            RICHARD EUGENE YALLUP, JR.,
                                                                                                               Oct 20, 2020
                                                                     )                                             SEAN F. MCAVOY, CLERK
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:20-cv-00163-SMJ
                                                                     )
                                                                     )
                   RENEE S. TOWNSLEY,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Complaint, ECF No. 1, is DISMISSED WITH PREJUDICE because Defendant’s quasi-judicial immunity
u
              cannot give rise to civil liability.




This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge              SALVADOR MENDOZA, JR.




Date: 10/20/2020                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Tonia Ramirez
                                                                                           %\ Deputy Clerk

                                                                             Tonia Ramirez
